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               February 13, 2020

               VIA ECF AND MAIL

               Hon. George B. Daniels
               United States District Judge
               Daniel Patrick Moynihan
               United States Courthouse
               500 Pearl St. Room 1310
               New York, NY 10007-1312

               Re:       Rich v. Fox News Network LLC et al., Civ. No. 18-cv-02223

               Dear Judge Daniels:

               Plaintiffs Joel and Mary Rich oppose Defendant Ed Butowsky’s motion to dismiss
               for lack of personal jurisdiction. Mr. Butowsky’s motion should be denied for the
               reasons stated in Plaintiffs’ Opposition Brief (Dkt. 56) and at oral argument on June
               20, 2018. The Complaint alleges that New York was, by design, the epicenter of
               Mr. Butowsky’s plan to exploit Joel and Mary Rich in order to spread a false story
               about their son Seth Rich. See Amended Compl. ¶ 8 (“Fox also acted with the
               assistance of Fox’s employees and agents, Defendants Zimmerman and Butowsky
               in New York.”); id. ¶ 12 (“Butowsky is a frequent contributor on Fox News and
               Fox Business News in New York.”); id. ¶ 82 (The day before the article was
               published “Butowsky wrote by email to various Fox News producers and on-air
               talent in New York . . . regarding the Zimmerman/Fox Article, stating … ‘I’m
               actually the one who’s been putting this together[.]’”).

               Although Mr. Butowsky has yet to produce a single document in this case,
               documents produced by other defendants and in related litigation confirm that this
               Court has personal jurisdiction over Mr. Butowsky. Plaintiffs now have evidence
               that conclusively refutes the entire premise of Mr. Butowsky’s motion—that “it is
               not alleged that Mr. Butowsky ever set foot in New York, let alone in connection



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with the underlying facts of this case.” Butowsky Motion at 1 (Dkt. 53).1 For
example:

       Wheeler0000493 (Exhibit 1): Mr. Butowsky writes to Rod Wheeler that
        (as the Complaint alleges) the Zimmerman/Fox article that Butowsky
        jointly developed with Zimmerman was “sent to New York to be
        published.” This email confirms that that Mr. Butowsky and Ms.
        Zimmerman targeted Fox News in New York for the publication of the
        Zimmerman/Fox Article.

       FoxNews0000200 (Exhibit 2): On May 23, 2017, the day Fox News
        retracted the Zimmerman/Fox Article, Ed Butowsky came to New York to
        meet with Fox News employee Andrew Napolitano about the article. He
        wrote: “Good Morning Judge [Napolitano], I have a lot of information that
        is not known right now in my possession about Seth rich. I will be in the
        building this morning are you available for me to share this with you?”
        (emphasis added). Mr. Napolitano, located at 1211 Avenue of the Americas,
        New York, NY, offered to “meet [Mr. Butowsky] in the lobby at 8:30.” Id.
        This demonstrates that Butowsky came to New York as part of his
        continuing effort to propagate the sham story.

       FoxNews0000406 (Exhibit 3): Mr. Butowsky’s May 23, 2017 visit to
        Fox’s New York office to promote his narrative about Seth Rich and
        Wikileaks was not an isolated incident. On November 13, 2017, Mr.
        Butowsky emailed Refet Kaplan (now Executive Editor at Fox News) who
        oversaw the retraction of the Zimmerman/Fox Articles to let him know he
        would be in “NYC and wanted to discuss a few things.”

       Butowsky0000981 (Exhibit 4): On August 10, 2017, Mr. Butowsky
        emailed CNN journalist Chris Cuomo about the Seth Rich/Wikileaks story,
        demanding that Cuomo “set the record straight.” On August 18, 2017, Mr.
        Butowsky asked why Mr. Cuomo would not “allow me back on” and noted,
        “I am in nyc aug 28 to sept 1…which day works for you?” Here, Butowsky
        is coming to New York for the purpose of continuing to propagate the sham
        story in the jurisdiction.




1
  As Mr. Butowsky recognized, the Court is “plainly entitled to look outside the
pleadings” in making its determination regarding jurisdiction. Butowsky Motion
at 6 (citing Faulkner v. Beer, 463 F.3d 130, 134 (2d Cir. 2006).


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         Butowsky0000306 (Exhibit 5):2 In October of 2018, Mr. Butowsky sent
          Mr. Cuomo an article titled, “DNC Emails – A Seth Attack Not a Russian
          Hack” that discussed the Seth Rich/Wikileaks story and this lawsuit. Mr.
          Butowsky accused Cuomo of “biased” reporting, and offered: “Perhaps we
          should meet up the next time I am in NYC? This way we can discuss your
          reporting accuracy.”

This is what Plaintiffs know without having received any discovery from Mr.
Butowsky in this case, jurisdictional or otherwise. These additional documents
confirm the “substantial connection with the forum state” that “defendant himself”
created. Butowsky Motion at 7 (quoting Walden v. Fiore, 134 S. Ct. 1115, 1121
(2014)). All that is required is a “single-act” under New York’s C.P.L.R. §
302(a)(1). But Mr. Butowsky’s contact was not sporadic—he went to and reached
into New York on numerous occasions in furtherance of his intentional infliction
of emotional distress against the Riches. Plaintiffs have made far more than the
necessary “prima facie showing that jurisdiction exists.” Thomas v. Ashcroft, 470
F.3d 491, 495 (2d Cir. 2006); Butowsky Motion at 5-6.

If the Court is inclined to grant Mr. Butowsky’s motion notwithstanding the
allegations in Plaintiffs’ Opposition Brief and this additional concrete evidence of
his repeated contacts with New York, at the very least the Court should allow
jurisdictional discovery, including a narrow deposition of Mr. Butowsky regarding
his New York contacts. See Plaintiffs’ Opposition Br. at 39-40; City of Almaty v.
Ablyazov, 278 F. Supp. 3d 776, 809 (S.D.N.Y. 2017) (“Jurisdictional discovery is
warranted where, even if plaintiff has ‘not made a prima facie showing, [they have]
made a sufficient start toward establishing personal jurisdiction.’”) (citation
omitted).

Plaintiffs respectfully request that the Court deny the motion and allow the parties
to proceed with discovery.

Sincerely,



Elisha Barron




2
    Mr. Butowsky produced this document in a related litigation.


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